   24-60717-mmp Doc#9 Filed 01/06/25 Entered 01/06/25 14:10:20 Ntc/O-SetBarDt intp/allcr
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                         UNITED STATES BANKRUPTCY COURT
                                Western District of Texas

                                                                        Bankruptcy Case
                                                                                        24−60717−mmp
                                                                                   No.:
                                                                           Chapter No.: 7
                                                                                 Judge: Michael M Parker
IN RE: Downing Transportation, Inc. , Debtor(s)


                ORDER FIXING LAST DATE FOR FILING PROOFS OF CLAIM,
                         COMBINED WITH NOTICE THEREOF
       Notice having been previously given that creditors of the above−named debtors were not required to file
proofs of claim, and it now appearing that a possible dividend may be declared for creditors at a later date, it is
ORDERED, AND NOTICE HEREBY GIVEN THAT

    3/17/25      is hereby fixed as the last date for filing of proofs of claim by any creditor of the above−named
debtors who desires to have his claim allowed so that he may share in any distribution to be paid from the estate. A
proof of claim filed by a governmental unit is timely filed if it is filed not later than 180 days after the date of the
order for relief. Creditors and governmental units must file a claim, whether or not they are included in the list of
creditors filed by the debtors, no later than the date above fixed or their claim will not be allowed, except as otherwise
provided by law. Claims may be filed using the court's Online Claim Filing System without having to complete a
paper proof claim form. This is located on the Bankruptcy Court's Website: http://www.txwb.uscourts.gov.

      Those filers who do not have access to the internet may obtain an official B410 Proof of Claim form at any
bankruptcy clerk's office and submit it to the following:

MAIL ORIGINAL PROOF OF CLAIM TO:                              MAIL COPY OF PROOF OF CLAIM TO:

U. S. BANKRUPTCY COURT                                        James Studensky
800 FRANKLIN AVE., SUITE 140                                  3912 W. Waco Drive
WACO, TX 76701−0                                              Waco, TX 76710

       You are further notified that if a distribution is to be declared for creditors, it will not be made until conclusion
of the administration of this estate by the trustee. At a later date, you will be given notice of, and an opportunity to
object to, the trustee's final report and accounting.

      **** ANY CLAIMANT WHO HAS PREVIOUSLY FILED A CLAIM IN THESE PROCEEDINGS IS NOT
                 REQUIRED TO RE−FILE SAME AND MAY DISREGARD THIS NOTICE.


Dated: 1/7/25
                                                                 Barry D. Knight
                                                                 Clerk, U. S. Bankruptcy Court




                                                                                                [Set Bar Date Notice/Order] [Ntcosbrdtapac]
